Case 14-05282-mgd        Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49            Desc Main
                                  Document     Page 1 of 32



                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                    )                 CASE NO. 13-62588-MGD
                                          )
TRADE AM INTERNATIONAL, INC.,             )                 CHAPTER 7
                                          )
      Debtor.                             )
                                          )
                                          )
S. GREGORY HAYS                           )
CHAPTER 7 TRUSTEE FOR THE ESTATE OF)
TRADE AM INTERNATIONAL, INC.              )
                                          )                 Adversary Proceeding
                   Plaintiff,             )                 No.
                                          )
                       VS.                )
                                          )
JUPITER IL, LLC, DEUTSCHE BANK AG,        )
Cayman Islands Branch,                    )
CRATOS CLO I LTD.,                        )
AJAY LOIWAL, HOLLAND, JOHNS               )
& PENNY, L.L.P., and                      )
MARGARET HOLLLAND,                        )
                                          )
                   Defendants.            )
__________________________________________)

                                         COMPLAINT

        Plaintiff S. Gregory Hays (“Plaintiff” or “Trustee”), Chapter 7 Trustee for the bankruptcy

estate of Trade Am International, Inc. (“Trade Am” or “Debtor”), files this Complaint

(the “Complaint”) against Jupiter IL, LLC (“Jupiter”), Deutsche Bank AG, Cayman Islands

Branch (“Deutsche Bank”), Cratos CLO I LTD. (“Cratos”), Mr. Ajay Loiwal (“Mr. Loiwal”),

Ms. Margaret Holland (“Ms. Holland”), and Holland, Johns & Penny, L.L.P. f/k/a Holland Johns

and Schwartz LLP (“HJP”; together with Jupiter, Deutsche Bank, Cratos, Mr. Loiwal,

Ms. Holland, and HJP, collectively, the “Defendants”).




6766469v1
Case 14-05282-mgd        Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49             Desc Main
                                  Document     Page 2 of 32



                                      Nature of this Action

       1.      In August of 2008, Trade Am’s primary warehouse located in Duluth, Georgia

suffered a catastrophic flood that resulted in extensive damage to Trade Am’s inventory and

other personal property, as well as significant losses to Trade Am’s business income. After Trade

Am’s insurer, The Cincinnati Insurance Company (“CIC”), refused to provide Trade Am with

coverage for its damages, on November 17, 2008, Trade Am filed suit against CIC. Although

subsequent to the flood Trade Am continued to operate for approximately another two years, its

business was permanently crippled by the damage to its warehouse and inventory, and Trade

Am’s most significant asset became its potential recovery in its insurance litigation against CIC.

       2.      In the months leading up to Trade Am’s trial with CIC, Trade Am’s President,

Mr. Loiwal, and Trade Am’s sole shareholder, Mr. Ashu Ladha (“Mr. Ladha”) recognized that

even if Trade Am were to obtain a multi-million dollar judgment against CIC, the only

beneficiaries of such a judgment would be Trade Am’s secured creditors, Deutsche Bank and

Cratos. Mr. Ladha and Mr. Loiwal used the only leverage they had: they informed Deutsche

Bank and Cratos that Trade Am would not continue to actively pursue Trade Am’s insurance

litigation against CIC unless an “agreement” was reached whereby Trade Am’s principals would

receive a share of any prospective recovery. To ensure Trade Am’s continued pursuit of, and

cooperation in, the CIC insurance litigation, Deutsche Bank and Cratos capitulated with

Mr. Ladha and Mr. Loiwal’s demands and agreed to forgo a share of their anticipated recovery

from the insurance litigation proceeds in exchange for Trade Am and its officers’ diligence.

However, rather than secure this portion of the insurance proceeds for the benefit of the Debtor




                                                 2
Case 14-05282-mgd             Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49                      Desc Main
                                       Document     Page 3 of 32



and its creditors, as their fiduciary duties required, Mr. Loiwal and Mr. Ladha1 instead set out to

personally capitalize on Trade Am’s corporate opportunity.

        3.       With the aid of Trade Am’s long-time corporate counsel, Ms. Holland and her law

firm HJP, a “newco” named Jupiter IL, LLC was formed to capture this corporate opportunity.

Mr. Loiwal, who at the time, was serving as the President of Trade Am, was, and upon

information and belief, still is the sole owner of Jupiter.2 Shortly after Jupiter’s formation,

Deutsche Bank and Cratos assigned their interests in their secured loans to Trade Am to Jupiter,

and took back participation interests in the secured loans that they had previously owned.

Pursuant to their participation agreement with Jupiter, Deutsche Bank and Cratos became entitled

to a percentage of the proceeds from any recovery in the CIC insurance litigation, with Jupiter

serving as their agent and the holder of the loan. As consideration for this transaction, Jupiter

also agreed to pay Deutsche Bank and Cratos $300,000.00. However, Jupiter did not bring any

of its own funds to the table, and instead funded the required purchase price out of the proceeds

of a precisely calculated and contemporaneous sale of certain of Trade Am’s assets to a third

party. Contemporaneous with these agreements, Debtor’s officers also caused Trade Am to enter

into an agreement that committed Trade Am to sell the majority of its remaining assets for the

benefit of Deutsche Bank and Cratos without the necessity of complying with applicable state

laws related to bulk sales.

        4.       Ultimately, Trade Am’s litigation against CIC resulted in a judgment in favor of

Trade Am in the amount of $9.12 million. Under its negotiated arrangement with Deutsche Bank


1
         Mr. Ladha filed a personal bankruptcy proceeding (Case No. 10-89992) on October 5, 2011, in the
United States Bankruptcy Court for the Northern District of Georgia, and received a discharge in that proceeding on
June 27, 2011 [Docket No. 63]. Accordingly, the Trustee has determined in his business judgment that from a cost-
benefit analysis it is not an appropriate use of estate resources to attempt to reopen Mr. Ladha’s case, revoke his
discharge, and to pursue a claim against Mr. Ladha for breach of fiduciary duty.
2
         Although Mr. Ladha was not a member of Jupiter, upon information and belief, Mr. Ladha had an oral
agreement with Mr. Loiwal to benefit from this arrangement.

                                                        3
Case 14-05282-mgd           Doc 1   Filed 09/08/14 Entered 09/08/14 16:35:49            Desc Main
                                    Document     Page 4 of 32



and Cratos, Jupiter’s interest in that judgment is approximately $2.1 million—an interest that

was purchased with the Debtor’s funds and that under principles of both law and equity

rightfully belongs to the Debtor.     Nonetheless, even though it did not provide a single dollar of

its own money to purchase the loan, Jupiter, represented by HJP, asserted and demanded in its

April 3, 2013 Letter (defined below) that it is entitled to all of the over $5.7 million in remaining

Insurance Proceeds (defined below) that the Trustee is currently holding.

       5.         Through this adversary proceeding, the Trustee seeks to recapture that multi-

million dollar corporate opportunity that was usurped by the Debtor’s former management team

at the expense of the Debtor and its creditors. The Trustee also seeks to recover monetary

damages from Mr. Loiwal for breach of fiduciary duty related to his self-dealing. The Trustee

further seeks to recover monetary damages from the Debtor’s long-time corporate counsel,

former director, and corporate officer, Ms. Holland and her law firm HJP for their breach of their

fiduciary duties, malpractice, and conspiracy with Mr. Ladha and Mr. Loiwal in breaching their

fiduciary duties. The Trustee also seeks to avoid and recover the transfer of $300,000 of the

Debtor’s funds, representing the proceeds from the sale of Trade Am’s intellectual property and

inventory, which were fraudulently transferred to Jupiter, and then utilized by Jupiter to fund the

purchase of Deutsche Bank’s and Cratos’ secured loans.

       6.         The specific categories of relief that the Trustee seeks through this Complaint

are as follows:

                  a. a judgment equitably subordinating Jupiter’s claim to the claims of all

                     creditors pursuant to 11 U.S.C. §§ 510(c)(1) and 105(a);

                  b. a judgment ordering that Jupiter’s lien be transferred to the bankruptcy estate

                     pursuant to 11 U.S.C. §§ 510(c)(2) and 105(a);



                                                  4
Case 14-05282-mgd          Doc 1   Filed 09/08/14 Entered 09/08/14 16:35:49             Desc Main
                                   Document     Page 5 of 32



                 c. a declaratory judgment that Deutsche Bank is no longer a creditor of

                    Trade Am on account of the Loan (defined below);

                 d. a declaratory judgment that Cratos is no longer a creditor of Trade Am on

                    account of the Loan;

                 e. an award of monetary damages caused by certain Defendants breaching their

                    fiduciary duties to the Debtor and Debtor’s creditors;

                 f. an award of monetary damages caused by certain Defendants conspiracy to

                    breach their fiduciary duties to the Debtor and Debtor’s creditors; and

                 g. avoidance and recovery of a $300,000 fraudulent transfer made to various

                    Defendants pursuant to 11 U.S.C. §§ 544 and 550, and applicable law.

                                      Jurisdiction and Venue

       7.        This is an adversary proceeding commenced pursuant to Rules 7001(1), (8),

and (9) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and 11 U.S.C.

§§ 502, 510, 541, 544, and 550. This adversary proceeding arises in and relates to the case of In

re Trade Am International, Inc., Chapter 7 Case No. 13-62588-MGD (the “Case”) pending in the

United States Bankruptcy Court for the Northern District of Georgia, Atlanta Division

(the “Court”).

       8.        This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 1334(a) and 157(a).

       9.        This adversary proceeding is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A),

(H), and (O), and this Court can constitutionally hear and determine this adversary proceeding.

       10.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409(a).




                                                 5
Case 14-05282-mgd         Doc 1   Filed 09/08/14 Entered 09/08/14 16:35:49              Desc Main
                                  Document     Page 6 of 32



                                           The Parties

       Plaintiff

       11.     On June 6, 2013 (the “Petition Date”), certain creditors of the Debtor commenced

the Case by the filing of an involuntary Chapter 7 petition for relief against the Debtor pursuant

to Title 11 of the United States Code, 11 U.S.C. §§ et seq. (the “Bankruptcy Code”).

       12.     On August 7, 2013, the order for relief was entered against the Debtor

[Docket No. 25]. That same day, the United States Trustee filed a notice of appointment,

appointing Trustee as the interim trustee in the Case and scheduled the Section 341(a) meeting of

creditors for September 4, 2013 [Docket No. 37].

       13.     On August 29, 2013, several parties filed notice of their intention to elect a trustee

at the Section 341 meeting [Docket No. 41]. However, no one appeared on behalf of the Debtor

at the Section 341 meeting.

       14.     The United States Trustee was unable to convene the Section 341 meeting or

conduct the requested election because the Debtor has not filed a list of creditors, as required by

Rule 1007(a)(2) of the Bankruptcy Rules and as ordered by the Court. Therefore, Trustee is the

current legal representative of the Debtor’s bankruptcy estate.

       Defendants

       15.     Defendant, Jupiter IL, LLC, is a Texas limited liability company, which may be

served with process in this action by mailing, by first class mail, postage prepaid, a true and

correct copy of this Complaint and Summons to its registered agent: Margaret E. Holland at 306

West Seventh Street, Suite 500, Fort Worth, Texas 76102.

       16.     Defendant, Deutsche Bank AG, Cayman Islands Branch, is a foreign bank, which

may be served with process in this action by mailing, by first class mail, postage prepaid, a true



                                                 6
Case 14-05282-mgd        Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49             Desc Main
                                  Document     Page 7 of 32



and correct copy of this Complaint and Summons to: Deutsche Bank AG, NY Branch, Legal

Department, 60 Wall Street, New York, NY 10005..

       17.     Defendant, Cratos CLO I LTD. may be served with process in this action by

mailing, by first class mail, postage prepaid, a true and correct copy of this Complaint and

Summons to: The Corporation Trust Company at Corporation Trust Center, 1209 Orange Street,

Wilmington, Delaware, 19801.

       18.     Defendant, Mr. Ajay Loiwal is a former director, corporate officer, and President

of the Debtor, the sole member and manager of Jupiter, and a Georgia citizen, who may be

served with process at his residence,1127 Antioch Drive NE, Atlanta, Georgia 30319-2303, by

mailing, by first class mail, postage prepaid, a true and correct copy of this Complaint and

Summons.

       19.     Defendant, Holland, Johns & Penny, L.L.P. f/k/a Holland Johns and

Schwartz LLP is the long-time corporate counsel of Debtor, counsel to Jupiter, and a limited

liability partnership registered to do business in the State of Texas, which may be served with

process in this action by mailing, by first class mail, postage prepaid, a true and correct copy of

this Complaint and Summons to one of its partners, Margaret Holland, at 306 West Seventh

Street, Suite 500, Fort Worth, Texas 76102.

       20.     Defendant, Ms. Margaret Holland is a Texas resident, a former director, corporate

officer, and registered agent of the Debtor, and former legal counsel to the Debtor and counsel to

Jupiter. Ms. Holland resigned from her positions as corporate secretary and director of the

Debtor in 2009. Defendant Ms. Holland may be served with process at her residence 120

Williamsburg Lane, Fort Worth, Texas, 76107-1738, by mailing, by first class mail, postage

prepaid, a true and correct copy of this Complaint and Summons.



                                                7
Case 14-05282-mgd        Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49             Desc Main
                                  Document     Page 8 of 32



                                      Factual Background

       A. Creation of Trade Am and Financing from Deutsche Bank and Cratos

       21.     In 1986, Mr. Ladha founded Trade Am, an importer and wholesaler of home

furnishing products, including natural fiber and hand tufted wool rugs with natural latex backing.

From its inception through the Petition Date, Mr. Ladha owned 100% of the common stock of

Trade Am. In addition to his sole ownership interest in the Debtor, Mr. Ladha also, at different

times, served as President, general manager, and as a corporate officer and director of the Debtor.

       22.     Trade Am was incorporated under the laws of the State of Texas. However, its

operations were based in Norcross, Georgia, with its primary warehouse located at 3312 North

Berkley Lake Road, Duluth, Georgia 30096 (the “Facility”).

       23.     Trade Am’s primary source of funding was a term loan facility and a revolving

loan facility with Cratos and Deutsche Bank.

       24.     On December 26, 2006, Trade Am executed that certain Credit Agreement

(the “Original Credit Agreement”) with Cratos, as the arranger and administrative agent for

Deutsche Bank (collectively with Cratos, the “Lenders”).         Pursuant to the Original Credit

Agreement, the Lenders agreed to provide Trade Am with a term loan facility (the “Term Loan”)

and a revolving loan facility (the “Line of Credit”; collectively, with the Term Loan, the “Loan”).

A true and correct copy of the Original Credit Agreement is attached hereto as Exhibit A.

       25.     As security for the Loan, Trade Am executed that certain Security Agreement

dated December 26, 2006 (the “Security Agreement”), granting the Lenders a first priority

security interest in all or substantially all of Trade Am’s personal property and assets, including

but not limited to, Trade Am’s rights in its accounts, books and records, rights of payment,

chattel paper, deposit accounts, equipment, general intangibles, inventory, investment property,



                                                 8
Case 14-05282-mgd           Doc 1   Filed 09/08/14 Entered 09/08/14 16:35:49           Desc Main
                                    Document     Page 9 of 32



negotiable instruments, and commercial tort claims, and proceeds therefrom (the “Collateral”) as

more specifically defined in the Security Agreement. A true and correct copy of the Security

Agreement is attached hereto as Exhibit B.

       26.     Between February 21, 2007 and April 5, 2010, Trade Am and the Lenders

amended the Original Credit Agreement eleven times, with the last amendment being that certain

Eleventh Amendment to Credit Agreement, executed on April 5, 2010 (the Original Credit

Agreement, collectively with all amendments thereto, the “Credit Agreement”).

       B. Warehouse Flood and Insurance Litigation

       27.     By 2008, Trade Am’s yearly gross revenues exceeded $63 million. However,

between August 16, 2008 and August 18, 2008, an 8-inch overhead water pipe attached to the

sprinkler system at the Facility ruptured, causing standing water of at least four to six inches in

the back of the Facility.

       28.     As a result of the water pipe break, Trade Am suffered significant damage to its

inventory, loss of business income, and extra expenses.

       29.     CIC provided insurance coverage to Trade Am, as outlined in insurance policy no.

CPP-88-91-35, effective June 30, 2006 to June 30, 2009 (the “Policy”), including broad coverage

for business personal property damage, loss of business income, and other losses at Trade Am’s

insured properties, which included the Facility.

       30.     Upon discovery of the water pipe break on August 18, 2008, Trade Am submitted

notice of the event to CIC that same day. Although CIC issued an advance payment of $500,000

to Trade Am for property damage that occurred as result of the warehouse flood, CIC refused to

provide Trade Am with any additional coverage.




                                                   9
Case 14-05282-mgd        Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49           Desc Main
                                 Document      Page 10 of 32



       31.    The water pipe break and CIC’s denial of coverage, caused Trade Am to default

under various customer contracts, and rendered Trade Am insolvent.

       32.    The Debtor retained King & Spalding LLP (“K&S”) to represent it in a lawsuit

against CIC on a contingency fee basis, pursuant to which K&S was entitled to 50% of the first

$4,000,000 recovered from CIC, 10% of any amount recovered from CIC between $4,000,000

and $6,000,000, and 35% of any amount recovered from CIC in excess of $6,000,000

(the “Contingency Fee Arrangement”).

       33.    On November 17, 2008, Debtor, through K&S, filed suit against CIC to recover

under the Policy in the Superior Count of Gwinnett County, in an action which was designated

Civil Action File No. 08-A-10171-5 (the “State Court Action”).

       34.    On December 8, 2008, the State Court Action was removed to federal district

court in Trade Am International, Inc. v. The Cincinnati Insurance Company, N.D. Ga. CAFN

1:08-cv-03711-ECS (the “District Court Case”).

       35.    On April 1, 2009, Trade Am and the Lenders executed that certain Seventh

Amendment to Credit Agreement, pursuant to which, among other things, the Credit Agreement

was amended to provide K&S with a first priority interest in any recovery from the District Court

Case, ahead of the Lenders, to the extent of Trade Am’s obligations to K&S under the

Contingency Fee Arrangement (the “Seventh Amendment”). A true and correct copy of the

Seventh Amendment is attached hereto as Exhibit C.

       C. Negotiations with the Lenders related to the CIC Insurance Litigation

       36.    Recognizing that the Lenders would receive the entire recovery in the District

Court Case after payment of K&S’s Contingency Fee Arrangement, representatives of Trade Am,




                                               10
Case 14-05282-mgd        Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49             Desc Main
                                 Document      Page 11 of 32



including Mr. Ladha and Mr. Loiwal, entered into negotiations with the Lenders during the

summer of 2010 to carve-out a portion of the anticipated recovery.

       37.     Upon information and belief, the Lenders were informed from Trade Am

representatives that if an agreement was not reached under which the Lenders agreed to share a

portion of their potential recovery in the District Court Case, Trade Am’s officers would either

hastily settle the District Court Case on less than favorable terms or certain Trade Am employees,

who were to be key witnesses, would be unavailable for trial or otherwise not cooperate.

       38.     Representatives from Trade Am subsequently made multiple proposals to

the Lenders.

       39.     In a letter to the Lenders dated July 22, 2010 (the “July 22, 2010 Letter”),

Nick Howard (“Mr. Howard”), the then acting Chief Financial Officer of Trade Am, proposed an

arrangement whereby the Lenders would foreclose on Trade Am’s assets and then sell those

assets to a newly formed corporation, which would continue to pursue the District Court Case

and operate in Trade Am’s line of business using the purchased assets. As consideration for

Trade Am’s assets, this new corporation would pay the Lenders $1,713,500 and 30% of any

recovery in the District Court Case. This would leave Trade Am, according to the July 22, 2010

letter, “devoid of any assets.” A true and accurate copy of the July 22, 2010 Letter is attached

hereto as Exhibit D.

       40.     In a letter to the Lenders dated July 29, 2010 (the “July 29, 2010 Letter”; together

with the July 22, 2010 Letter, the “Letters”), Mr. Howard, on behalf of Trade Am, made an

alternate proposal: a new corporation would be formed that would purchase the senior secured

debt of Cratos and Deutsche Bank for $1,713,500 and 30% of any recovery in the District Court

Case. This new corporation would then foreclose on the assets of Trade Am and continue to



                                                11
Case 14-05282-mgd         Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49         Desc Main
                                  Document      Page 12 of 32



operate using Trade Am’s former assets. A true and correct copy of the July 29, 2010 Letter is

attached hereto as Exhibit E.

       41.     In both of the Letters, Mr. Howard, on behalf of Trade Am, represented to the

Lenders that one of the advantages of working out an arrangement with Trade Am would be to

prevent the District Court Case from settling at a reduced amount and to ensure that Trade Am’s

key witness participated in the District Court Case.

       42.     Upon information and belief, neither of the proposals outlined in the Letters was

acceptable to the Lenders.

       43.     Upon information and belief, in August of 2010, in order to incentivize Trade

Am’s management to continue to litigate and cooperate in the District Court Case, the Lenders

reached an oral agreement with representatives of Trade Am regarding the liquidation of Trade

Am’s assets and the division of potential proceeds in the District Court Case. However, rather

than capture this opportunity for the benefit of Trade Am and its creditors, as their fiduciary

duties mandated, Mr. Ladha and Mr. Loiwal, with the assistance of Ms. Holland and HJP, instead

elected to usurp this corporate opportunity and personally benefit from it.

       44.     Upon information and belief, the oral agreement that the Lenders reached with the

representatives from Trade Am provided for the creation of a new corporation that would

purchase the Loan and the Lenders’ security interest in the potential recovery in the District

Court Case.    In exchange, the Lenders would receive participation interests in “newco’s”

recovery, entitling them to 30% of the first $4,000,000 recovered by “newco” in the District

Court Case after payment of K&S’s legal fees (which pursuant the Seventh Amendment were

secured by a prior lien in favor of K&S) and 50% of any additional amounts recovered by

“newco” in excess of $4,000,000 in the District Court Case after payment of K&S’s legal fees



                                                12
Case 14-05282-mgd        Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49          Desc Main
                                 Document      Page 13 of 32



(which pursuant the Seventh Amendment were secured by a prior lien in favor of K&S).

In addition, it was agreed that the Lenders would receive $300,000 from the liquidation of

certain of Trade Am’s assets and that a liquidator would be appointed to liquidate the remainder

of Trade Am’s assets on an expedited basis.

       D. Creation of Jupiter, Jupiter’s Usurpation of Trade Am’s Corporate Opportunity,
       and Liquidation of Trade Am

       45.    In September of 2010, with the trial in the District Court Case fast approaching,

Mr. Ladha, Mr. Loiwal, Ms. Holland, HJP, and the Lenders consummated the transactions

(described below) that would prevent Trade Am and its creditors from realizing any benefit from

Trade Am’s officers’ previous discussions with the Lenders regarding the District Court Case

and/or from the District Court Case.

       46.    Mr. Loiwal and Mr. Ladha did this notwithstanding the fact that, according to the

certificate of incumbency filed by Mr. Ladha on September 10, 2010, Mr. Ladha was, at the time,

the Chief Executive Officer of Trade Am and Mr. Loiwal was the President and Assistant

Secretary of Trade Am. A true and correct copy of the Certificate of Incumbency is attached

hereto as Exhibit F.

       47.    On September 15, 2010, the Debtor and Great American Group, LLC

(“Great American”) entered into that certain Consulting Agreement (the “Consulting

Agreement”), as modified by that certain Letter Agreement dated September 21, 2010 between

the Debtor, Great American, and Cratos (the “Letter Agreement”), pursuant to which

Great American was to liquidate certain of the Debtor’s assets on behalf of the Lenders.

True and correct copies of the Consulting Agreement and the Letter Agreement are attached

hereto as Exhibit G.




                                              13
Case 14-05282-mgd        Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49            Desc Main
                                 Document      Page 14 of 32



        48.    Ms. Holland and HJP represented the Debtor in connection with the

Consulting Agreement and the Letter Agreement.

        49.    On September 20, 2010, Jupiter was formed as a Texas limited liability company.

Mr. Loiwal was, and upon information and belief, remains the sole member and manager

of Jupiter.

        50.    Ms. Holland and HJP represented Jupiter in connection with its formation, and

Mrs. Holland was named the registered agent for Jupiter.

        51.    On September 21, 2010, Jupiter entered into that certain Assignment and

Assumption agreement with Deutsche Bank whereby, among other things, Deutsche Bank

assigned its interest in the Loan, the Security Agreement, the Credit Agreement, and related loan

documents with the Debtor to Jupiter for the stated consideration of $284,118.93

(the “Deutsche Bank Assignment”).

        52.    On September 21, 2010, Jupiter also entered into that certain Assignment and

Assumption agreement with Cratos whereby, among other things, Cratos assigned its rights and

obligations as agent, and its interest, in the Loan, the Security Agreement, the Credit Agreement,

and related loan documents to Jupiter for the stated consideration of $15,881.07

(the “Cratos Assignment”; together with the Deutsche Bank Assignment, the “Assignments”).

True and correct copies of the Assignments are attached hereto as Exhibit H.

        53.    Jupiter was represented by Ms. Holland and HJP in connection with

the Assignments.

        54.    As part of the transaction related to the Assignments (the “Loan Sale”), on

September 21, 2010, Jupiter entered into that certain Participation Agreement with Deutsche and

Cratos, pursuant to which Deutsche Bank and Cratos acquired undivided, full-risk, non-voting



                                               14
Case 14-05282-mgd          Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49           Desc Main
                                   Document      Page 15 of 32



participation interests (the “Participation Interests”) in the Loan, including Debtor’s obligations

under the Credit Agreement (the “Participation Agreement”). A true and correct copy of the

Participation Agreement is attached hereto as Exhibit I.

       55.     Specifically, the Participation Interests entitle the Lenders to 30% of the first

$4,000,000 recovered by Jupiter in the District Court Case after payment of K&S’s legal fees

(which pursuant the Seventh Amendment were secured by a prior lien in favor of K&S), and

50% of any amounts recovered by Jupiter in excess of $4,000,000 in the District Court Case after

payment of K&S’s legal fees (which pursuant the Seventh Amendment were secured by a prior

lien in favor of K&S).

       56.     Under the Participation Agreement, 5.2936889% of the Participation Interests are

allocated to Cratos, with 94.7063111% of the remaining Participation Interests allocated to

Deutsche Bank.

       57.     Under the Participation Agreement, the Lenders also agreed that they would not

have any interest in the proceeds from any of Trade Am’s assets (the “Additional Assets”) other

than those being liquidated pursuant to the Consulting Agreement and the recovery in the District

Court Case.

       58.     Jupiter was represented by Ms. Holland and HJP in connection with the

Participation Agreement.

       59.     On or about September 21, 2010, the Debtor and a third party purchaser,

LR Resources, Inc. (“LRRI”), entered into that certain Warranty Bill of Sale and Agreement

(the “Bill of Sale”), pursuant to which LRRI purchased certain business operations, assets, and

intellectual property of the Debtor (the “LRRI Sale”) for $255,000 (the “Purchase Price”).

A true and correct copy of the Bill of Sale is attached hereto as Exhibit J.



                                                15
Case 14-05282-mgd        Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49           Desc Main
                                 Document      Page 16 of 32



        60.    The property sold in the LRRI Sale was part of the Additional Assets, to which the

Lenders waived their interest.

        61.    The Debtor was represented by Ms. Holland and HJP in connection with the Bill

of Sale and the LRRI Sale.

        62.    LRRI purchased those certain business operations, assets, and intellectual

property of the Debtor by paying the Purchase Price—not directly to a bank account of the

Debtor—but instead via wire transfer to escrow account no. xxxxx3165 at HJP (“LRRI Wire

Transfer”). A true and correct copy of the wire advice for the LRRI Wire Transfer is attached

hereto as Exhibit K.

        63.    In contemplation of the Loan Sale, a few weeks earlier, on September 9, 2010,

High Q Trading Co, LLC and Global Floor Covering LLC purchased certain assets of the Debtor

for, collectively, $45,000 (the “High Q and Global Floor Sale”). The property sold in the High Q

and Global Floor Sale was also part of the Additional Assets, to which the Lenders waived their

interest.

        64.    The funds representing the purchase price of the High Q and Global Floor Sale,

like the LRRI Wire Transfer, were not transferred directly to a bank account of the Debtor, but

were instead transferred via wire transfers to escrow account no. xxxxx3501 at HJP (collectively,

the “High Q and Global Floor Wire Transfer”;). A true and correct copy of the wire advice for

the High Q and Global Floor Wire Transfer is attached hereto as Exhibit L.

        65.    On September 21, 2010, on behalf of Debtor, HJP caused $300,000 of the

Debtor’s funds, which represented the proceeds of the sale of certain of the Additional Assets

generated through the LRRI Sale and the High Q and Global Floor Sale, to be transferred, upon

information and belief, first to Jupiter (the “Jupiter Fraudulent Transfer”), and then to the



                                               16
Case 14-05282-mgd          Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49            Desc Main
                                   Document      Page 17 of 32



Lenders via wire transfer from escrow account no. xxxxx3165 at HJP (the “Lender Wire

Transfer”; collectively with the LRRI Wire Transfer, and the High Q and Global Wire Transfer,

the “Wire Transfers”). A true and correct copy of the wire advice for the Lender Wire Transfer is

attached hereto as Exhibit M. The Lender Wire Transfer represented the stated consideration

paid by Jupiter for the Assignments.

        66.     Prior to September 21, 2010, Trade Am was not known to owe any money to

Jupiter, and Jupiter did not provide the Debtor with any consideration for use of the funds that

constituted the Jupiter Fraudulent Transfer.

        67.     On September 21, 2010, Trade Am essentially ceased operating, at which time

virtually all employees of Trade Am were terminated or resigned from their positions.

        68.     Mr. Ladha and Mr. Loiwal, however, remained employed by the Debtor.

Mr. Loiwal and Mr. Ladha remained on the Debtor’s payroll through, at least,

December 31, 2010. A true and correct redacted copy of the Debtor’s check register for the

period ending December 31, 2010 is attached hereto as Exhibit N. The Debtor’s check register

indicates that Mr. Ladha and Mr. Loiwal each earned $3,846.11 for this pay period.

        69.     Mr. Ladha and Mr. Loiwal also continued to receive health insurance through the

Debtor through, at least, January 31, 2011. A true and correct redacted copy of the Debtor’s

health insurance billing through January 31, 2011 is attached hereto as Exhibit O. The Debtor’s

health insurance billing reflects medical dues for that period for Mr. Ladha in the amount of

$915.26 and for Mr. Loiwal in the amount of $1,525.43.

        70.     Notwithstanding their continued employment with and management of the Debtor

through at least the end of 2010, Mr. Ladha and Mr. Loiwal have failed to cause the Debtor to

file state or federal tax returns since 2007.



                                                17
Case 14-05282-mgd         Doc 1     Filed 09/08/14 Entered 09/08/14 16:35:49          Desc Main
                                   Document      Page 18 of 32



       71.     Upon information and belief, at no point in time did Ms. Holland or HJP obtain a

conflict waiver from either Trade Am or Jupiter related to the Loan Sale, the Bill of Sale, the

LRRI Sale, the Assignments, the Participation Agreement, the Consulting Agreement, the Letter

Agreement, the Wire Transfers, the Jupiter Fraudulent Transfer, or even discuss the existence of a

conflict of interest between Trade Am and Jupiter.

       72.     After the Consulting Agreement, the Letter Agreement, the Assignments, the Bill

of Sale, the Participation Agreement, the Wire Transfers, and the Jupiter Fraudulent Transfer

were executed and implemented, and the Loan Sale, High Q and Global Floor Sale, and the

LRRI Sale closed, Trade Am was left holding assets totaling $452,240 with liabilities totaling

more than $33.4 million. A true and correct copy of Trade Am’s consolidated unaudited balance

sheet as of September 20, 2010 is attached hereto as Exhibit P. As reflected in Debtor’s

Statement of Financial Affairs and Schedules [Docket No. 124], as of the Petition Date, the

Debtor had over $31.2 million in unsecured claims.

       73.     As a result of the Loan Sale, High Q and Global Floor Sale, and the LRRI Sale,

Trade Am and its creditors were effectively left without any financial stake in the

District Court Case.

       E. Jury Award, Appeal, and Trustee’s Collection of the Insurance Proceeds

       74.     The trial in the District Court Case began on October 4, 2010.

       75.     Upon information and belief, Mr. Loiwal was in India during the trial in the

District Court Case and did not participate in or serve as a witness at the trial.

       76.     On October 19, 2010, the jury awarded the Debtor damages in the amount of

$9,120,000 against CIC. On October 26, 2010, the District Court entered a judgment against




                                                  18
Case 14-05282-mgd         Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49             Desc Main
                                  Document      Page 19 of 32



CIC in the amount of $9,120,000 in the District Court Case (the “Judgment”).             A true and

correct copy of the Judgment is attached hereto as Exhibit Q.

       77.      CIC appealed the Judgment, which was subsequently affirmed by the Eleventh

Circuit Court of Appeals on January 28, 2013.

       78.      In April 2013, consistent with the Seventh Amendment, CIC paid K&S, Debtor’s

counsel in the District Court Case, approximately $3.5 million in partial satisfaction of the

Judgment.

       79.      The Trustee pursued collection of the remaining portion of the Judgment, and CIC

subsequently paid the Trustee approximately $5.7 million (the “Insurance Proceeds”) in

satisfaction of the remaining portion of the Judgment.

       80.      As explained in a letter from HJP, on behalf of Jupiter, to CIC dated April 3, 2013

(the “April 3, 2013 Letter”), Jupiter claims its lien attaches, and that it is entitled to all of the

Insurance Proceeds. A true and correct copy of the April 3, 2013 Letter is attached hereto

as Exhibit R.

                                             COUNT I

    Equitable Subordination of Jupiter’s Claim under 11 U.S.C. §§ 510(c)(1) and 105(a)
                                    (Against Jupiter)

       81.      The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.

       82.      At the time of Loan Sale, the High Q and Global Floor Sale, and the LRRI Sale,

Mr. Loiwal was the president of the Debtor, and the sole owner and manager of Jupiter.

Accordingly, through Mr. Loiwal, Jupiter controlled the Debtor, and was therefore an insider of

the Debtor.




                                                 19
Case 14-05282-mgd         Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49             Desc Main
                                  Document      Page 20 of 32



       83.     Jupiter engaged in inequitable conduct, including but not limited to, usurping the

Debtor’s corporate opportunity to purchase the Loan from the Lenders and recover a portion of

the Insurance Proceeds for the benefit of the Debtor and its creditors, and using the Debtor’s

funds without any consideration to the Debtor to fund the stated purchase price of the Loan

through the Assignments and related agreements.

       84.     This inequitable conduct has resulted in injury to Debtor’s creditors and/or

conferred an unfair advantage on Jupiter, in that the other creditors of the Debtor could have and

should have benefited from the Assignments and related agreements, instead of Jupiter.

       85.     As a result of Jupiter’s inequitable conduct, secured and unsecured creditors are

less likely to recover the full amount of their claims.

       86.     Jupiter’s inequitable conduct has resulted in an unfair advantage to Jupiter

because, absent subordination, it will receive a windfall because it usurped the Debtor’s

corporate opportunity and did not provide any value in exchange for the Jupiter Fraudulent

Transfer, which was the stated consideration for its purchase of the Loan. Under principles of

equitable subordination, Trustee is entitled to a judgment subordinating the entire amount of

Jupiter’s claim against the Debtor’s estate to the claims of all of Debtor’s other creditors pursuant

to 11 U.S.C. §§ 510(c)(1) and 105(a).

                                             COUNT II

       Transfer of Jupiter’s Lien to the Estate under 11 U.S.C. §§ 510(c)(2) and 105(a)
                                       (Against Jupiter)

       87.     The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.




                                                 20
Case 14-05282-mgd         Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49            Desc Main
                                  Document      Page 21 of 32



       88.     Under principles of equitable subordination, Trustee is entitled to a judgment

transferring any and all liens securing Jupiter’s claim against the Debtor to the Debtor’s

bankruptcy estate, pursuant to 11 U.S.C. §§ 510(c)(2) and 105(a).

                                           COUNT III

                                     Declaratory Judgment
                                    (Against Deutsche Bank)

       89.     The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.

       90.     Upon information and belief, Deutsche Bank claims that it maintains a security

interest in the Insurance Proceeds, and that such funds constitute its cash collateral. See Docket

Nos. 69, 94.

       91.     An actual controversy of a justiciable nature currently exists as to whether

Deutsche Bank holds a valid security interest in the Insurance Proceeds, holds a claim against the

Debtor, and whether Deutsche Bank is therefore a creditor of the Debtor.

       92.     The Trustee contends Deutsche Bank, as a part of the Deutsche Bank Assignment

and the Participation Agreement, sold its claim against the Debtor and its security interest in any

of the Debtor’s assets, including the Insurance Proceeds, to Jupiter, and in turn, took a mere

participation interest in the Loan, which is now held by Jupiter.

       93.     Therefore, Deutsche Bank does not hold a claim against and is not a creditor of

the Debtor related to the Loan.

       94.     Accordingly, the Trustee is entitled to a judgment declaring that Deutsche Bank

does not hold a security interest in the assets of the Debtor, including the Insurance Proceeds,

and does not hold a claim against the Debtor related to the Loan.




                                                21
Case 14-05282-mgd         Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49             Desc Main
                                  Document      Page 22 of 32



                                             COUNT IV

                                      Declaratory Judgment
                                         (Against Cratos)

       95.     The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.

       96.     Upon information and belief, Cratos claims that it maintains a security interest in

the Insurance Proceeds, and that such funds constitute its cash collateral.

       97.     An actual controversy of a justiciable nature currently exists as to whether Cratos

holds a valid security interest in the Insurance Proceeds, holds a claim against the Debtor, and

whether Cratos is therefore a creditor of the Debtor.

       98.     The Trustee contends Cratos, as a part of the Cratos Assignment and the

Participation Agreement, sold its claim against the Debtor and its security interest in the Debtor’s

assets, including the Insurance Proceeds, to Jupiter, and in turn, took a mere participation interest

in the Loan, which is now held by Jupiter.

       99.     Therefore, Cratos does not hold a claim against and is not a creditor of the Debtor

related to the Loan.

       100.    Accordingly, the Trustee is entitled to a judgment declaring that Cratos does not

hold a security interest in any of the assets of the Debtor, including the Insurance Proceeds, and

does not hold a claim against the Debtor related to the Loan.

                                             COUNT V

                                    Breach of Fiduciary Duty
                                      (Against Mr. Loiwal)

       101.    The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.



                                                 22
Case 14-05282-mgd           Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49          Desc Main
                                    Document      Page 23 of 32



        102.    Pursuant to 11 U.S.C. §§ 541, 544, and other applicable law, the Trustee stands in

the shoes of the Debtor and its creditors and has standing to sue for harm caused by the actions

of the Debtor’s officers, directors, and fiduciaries.

        103.    As the President of the Debtor, Mr. Loiwal owed the Debtor fiduciary duties of

care and loyalty.

        104.    Upon the Debtor’s insolvency, Mr. Loiwal also owed a fiduciary duty to the

Debtor’s creditors.

        105.    Mr. Loiwal breached his fiduciary duties to the Debtor and its creditors by

forming Jupiter and orchestrating Jupiter’s use of the Debtor’s assets to purchase the Loan and

related security interests in the Debtor’s assets, including the Insurance Proceeds.

        106.    This opportunity to purchase the Loan and related security interests in the

Debtor’s assets, including the Insurance Proceeds, was an opportunity that the Debtor had a

legitimate interest or expectancy in and had the financial resources to take advantage of, as

evidenced by the fact that Jupiter used the Debtor’s property to fund the stated purchase price

under the Assignments.

        107.    Mr. Loiwal’s usurpation of the Debtor’s corporate opportunity and his breach of

his fiduciary duty caused harm to the Debtor and the Debtor’s creditors because it deprived the

Debtor’s estate of a valuable and significant asset, and made that asset unavailable to satisfy the

Debtor’s liabilities to its creditors.

        108.    The Trustee is entitled to collect from Mr. Loiwal all damages for these breaches

to the extent permitted by applicable law.




                                                  23
Case 14-05282-mgd          Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49               Desc Main
                                   Document      Page 24 of 32



                                             COUNT VI

                                    Breach of Fiduciary Duty
                                  (Against Ms. Holland and HJP)

        109.    The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.

        110.    Pursuant to 11 U.S.C. §§ 541, 544, and other applicable law, the Trustee stands in

the shoes of the Debtor and its creditors and has standing to sue for harm caused by the actions

of the Debtor’s officers, directors, and fiduciaries.

        111.    By virtue of the attorney-client relationship that existed between Ms. Holland and

HJP, and the Debtor, Ms. Holland and HJP each owed the Debtor fiduciary duties of care

and loyalty.

        112.    The Debtor had a corporate opportunity to purchase the Loan and related security

interests in the Debtor’s assets, including the Insurance Proceeds, which was an opportunity that

the Debtor had a legitimate interest or expectancy in and had the financial resources to take

advantage of, as evidenced by the fact that Jupiter used the Debtor’s property to fund the stated

purchase price under the Assignments.

        113.    Ms. Holland and HJP breached their fiduciary duties of care and loyalty by

forming Jupiter and orchestrating Jupiter’s use of the Debtor’s assets to purchase the Loan and

related security interests in the Debtor’s assets, including the Insurance Proceeds, by representing

both the Debtor and the entity that usurped a corporate opportunity of the Debtor, Jupiter, in

connection with substantially related transactions.

        114.    Ms. Holland and HJP’s breaches of their fiduciary duties of care and loyalty

caused harm to the Debtor because it deprived the Debtor’s estate of a valuable and significant

asset, and made that asset unavailable to satisfy the Debtor’s liabilities to its creditors.


                                                  24
Case 14-05282-mgd          Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49          Desc Main
                                   Document      Page 25 of 32



       115.    The Trustee is entitled to collect from Ms. Holland and HJP, jointly and severally,

all damages for these breaches to the extent permitted by law.

                                            COUNT VII

                 Breach of Fiduciary Duty-Legal Malpractice and Negligence
                               (Against Ms. Holland and HJP)

       116.    The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.

       117.    Pursuant to 11 U.S.C. §§ 541, 544, and other applicable law, the Trustee stands in

the shoes of the Debtor and its creditors and has standing to sue for harm caused by the actions

of the Debtor’s officers, directors, and fiduciaries.

       118.    By virtue of the attorney-client relationship that existed between Ms. Holland and

HJP, and the Debtor, Ms. Holland and HJP each owed the Debtor fiduciary duties of care

and loyalty.

       119.    The Debtor had a corporate opportunity to purchase the Loan and related security

interests in the Debtor’s assets, including the Insurance Proceeds, which was an opportunity that

the Debtor had a legitimate interest or expectancy in and had the financial resources to take

advantage of, as evidenced by the fact that Jupiter used the Debtor’s property to fund the stated

purchase price under the Assignments.

       120.    Ms. Holland and HJP breached their fiduciary duties of care and loyalty by failing

to adequately advise the Debtor to capture the corporate opportunity available to it and to

counsel against the liquidation of the Debtor’s assets for the benefit of another entity, one that

was also represented by Ms. Holland and HJP.




                                                  25
Case 14-05282-mgd          Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49          Desc Main
                                   Document      Page 26 of 32



       121.    Ms. Holland and HJP failed to perform their professional services in a non-

negligent manner, and in accordance with applicable care, skill, prudence, and diligence that

members of the legal profession commonly possess and exercise.

       122.    Ms. Holland and HJP’s breaches of their fiduciary duties of care caused harm to

the Debtor because it deprived the Debtor’s estate of a valuable and significant asset, and made

that asset unavailable to satisfy the Debtor’s liabilities to its creditors, and resulted in the

depletion of the Debtor’s remaining assets.

       123.    The Trustee is entitled to collect from Ms. Holland and HJP, jointly and severally,

all damages for these breaches to the extent permitted by law.

                                            COUNT VIII

                           Civil Conspiracy to Breach Fiduciary Duty
                            (Against Ms. Holland HJP, and Jupiter)

       124.    The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.

       125.    Pursuant to 11 U.S.C. §§ 541, 544, and other applicable law, the Trustee stands in

the shoes of the Debtor and its creditors and has standing to sue for harm caused by the actions

of the Debtor’s officers, directors, and fiduciaries.

       126.    As outlined above, Mr. Loiwal owed the Debtor the fiduciary duties of care and

loyalty as an officer of the Debtor. In addition, Mr. Loiwal owed fiduciary duties to the Debtor’s

creditors upon the Debtor’s insolvency.

       127.    Mr. Loiwal violated these fiduciary duties by forming Jupiter and orchestrating

Jupiter’s use of the Debtor’s assets to purchase the Loan and related security interests in the

Debtor’s assets, including the Insurance Proceeds.




                                                  26
Case 14-05282-mgd          Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49            Desc Main
                                   Document      Page 27 of 32



        128.     This opportunity to purchase the Loan and related security interest in the Debtor’s

assets, including the Insurance Proceeds, was an opportunity that the Debtor had a legitimate

interest or expectancy in and had the financial resources to take advantage of, as evidenced by

the fact that Jupiter used the Debtor’s property to fund the stated purchase price under the

Assignments.

        129.     Mr. Loiwal’s usurpation of the Debtor’s corporate opportunity and his breach of

his fiduciary duty caused harm to the Debtor because it deprived the Debtor’s estate of a valuable

and significant asset, and made that asset unavailable to satisfy the Debtor’s liabilities to

its creditors.

        130.     Ms. Holland, HJP, and Jupiter (collectively, the “Co-Conspirators”) knew or

should have known of Mr. Loiwal’s fiduciary duties to the Debtor and to the Debtor’s creditors.

        131.     The Co-Conspirators knowingly agreed, assisted, and/or conspired with

Mr. Loiwal to breach his fiduciary duties to the Debtor and its creditors by making overt acts in

furtherance of the conspiracy, including among other things: (1) forming Jupiter; (2) representing

Jupiter in connection with the Assignments and the Participation Agreement; (3) representing the

Debtor in connection with the LRRI Sale; (4) representing Debtor and Jupiter in connection with

the Jupiter Fraudulent Transfer; and (5) assisting Mr. Loiwal to cause the Debtor to make the

Jupiter Fraudulent Transfer to Jupiter and ultimately to Deutsche Bank and Cratos via the Lender

Wire Transfer to fund its purchase price under the Assignments.

        132.     The Co-Conspirators actively directed, participated in, and designed the wrongful

conduct of Mr. Loiwal and Jupiter.




                                                 27
Case 14-05282-mgd          Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49             Desc Main
                                   Document      Page 28 of 32



       133.      The Co-Conspirators helped to procure Mr. Loiwal’s breaches of fiduciary duty

for the express purpose of harming creditors of the Debtor and benefitting Jupiter, Mr. Loiwal,

Ms. Holland, and HJP.

       134.      The Co-Conspirators had a meeting of the minds to use unlawful means, namely

the breaching of fiduciary duties and orchestrating fraudulent transfers and other wrongful

conduct as alleged herein, to ensure that Jupiter acquire an interest in the Additional Assets,

including the Insurance Proceeds, at the expense of the Debtor’s other creditors.

       135.      The Debtor has been damaged as a proximate result of this conspiracy.

       136.      The Trustee is entitled to collect from the Co-Conspirators, jointly and severally,

all damages for these breaches to the extent permitted by law.

                                            COUNT IX

                    Avoidance of the Jupiter Fraudulent Transfer to Jupiter
                    Pursuant to 11 U.S.C. § 544 and O.C.G.A. § 18-2-74(a)(1)
                                       (Against Jupiter)

       137.      The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.

       138.      The Jupiter Fraudulent Transfer was a transfer of an interest of the Debtor in

property.

       139.      The Jupiter Fraudulent Transfer was made to Jupiter within four (4) years of the

Petition Date.

       140.      The Debtor made the Jupiter Fraudulent Transfer with actual intent to hinder,

delay, or defraud Debtor’s creditors, as indicated by several badges of fraud, including: (a)

Jupiter is an insider of Debtor; (b) the Jupiter Fraudulent Transfer was not an arms-length

transaction and was made to enable Jupiter to usurp a corporate opportunity of the Debtor; (c)



                                                 28
Case 14-05282-mgd          Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49           Desc Main
                                   Document      Page 29 of 32



Debtor made the Jupiter Fraudulent Transfer without receiving reasonably equivalent value, or

indeed, any consideration; and (d) upon information and belief, the Jupiter Fraudulent Transfer

was made when Debtor was insolvent or the Jupiter Fraudulent Transfer rendered the Debtor

insolvent.

       141.      Pursuant to the “strong arm powers” set forth in 11 U.S.C. § 544, the Trustee is

entitled to avoid the Jupiter Fraudulent Transfer to Jupiter pursuant to O.C.G.A. § 18-2-74(a)(1).

                                            COUNT X

                    Avoidance of the Jupiter Fraudulent Transfer to Jupiter
                     Pursuant to 11 U.S.C. § 544 and O.C.G.A. § 18-2-75(a)
                                       (Against Jupiter)

       142.      The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.

       143.      The Jupiter Fraudulent Transfer was a transfer of an interest of the Debtor in

property.

       144.      The Jupiter Fraudulent Transfer was made to Jupiter within four (4) years of the

Petition Date.

       145.      The Debtor did not receive reasonably equivalent value in exchange for the

Jupiter Fraudulent Transfer.

       146.      The Debtor was insolvent at the time of the Jupiter Fraudulent Transfer or was

rendered insolvent by the Jupiter Fraudulent Transfer.

       147.      Pursuant to the Trustee’s strong arm powers as set forth in 11 U.S.C. § 544, the

Trustee may avoid the Jupiter Fraudulent Transfer pursuant to O.C.G.A. § 18-2-75(a).




                                                29
Case 14-05282-mgd         Doc 1     Filed 09/08/14 Entered 09/08/14 16:35:49           Desc Main
                                   Document      Page 30 of 32



                                             COUNT XI

                Recovery of the Avoided Jupiter Fraudulent Transfer to Jupiter
                                 Pursuant to 11 U.S.C. § 550
                                      (Against Jupiter)

       148.     The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.

       149.     Jupiter was the entity for whose benefit the Jupiter Fraudulent Transfer was made,

the initial transferee of the Jupiter Fraudulent Transfer, or the immediate or mediate transferee of

the initial transferee of the Jupiter Fraudulent Transfer.

       150.     Pursuant to 11 U.S.C. § 550(a), the Trustee may recover the Jupiter Fraudulent

Transfer or its value from Jupiter.

                                            COUNT XII

              Recovery of the Avoided Jupiter Fraudulent Transfer to the Lenders
                                  Pursuant to 11 U.S.C. § 550
                             (Against Deutsche Bank and Cratos)

       151.     The Trustee hereby incorporates all of the foregoing allegations as if fully set

forth at length herein.

       152.     Deutsche Bank and Cratos were the entities for whose benefit the Jupiter

Fraudulent was made, the initial transferees of the Jupiter Fraudulent Transfer, or the immediate

or mediate transferees of the initial transferee of the Jupiter Fraudulent Transfer.

       153.     Pursuant to 11 U.S.C. § 550(a), the Trustee may recover the Jupiter Fraudulent

Transfer or its value from Deutsche Bank and Cratos.

                                  RESERVATION OF RIGHTS

       154.     Trustee reserves the right to amend this Complaint should facts be discovered to

add additional parties, to add additional transfers, and to assert additional claims, including but



                                                  30
Case 14-05282-mgd        Doc 1    Filed 09/08/14 Entered 09/08/14 16:35:49             Desc Main
                                 Document      Page 31 of 32



not limited to claims of breach of fiduciary duty, aiding and abetting, conspiracy, and any and all

claims arising under Title 11 of the United States Code or applicable law.

       WHEREFORE, the Trustee prays that the Court enter judgment:

           a) Ordering that Jupiter’s entire claim is subordinated to the claims of all other

               creditors pursuant to 11 U.S.C. §§ 510(c)(1) and 105(a);

           b) Transferring any and all liens securing Jupiter’s claim against the Debtor to the

               Debtor’s bankruptcy estate, pursuant to 11 U.S.C. §§ 510(c)(2) and 105(a);

           c) Declaring that Deutsche Bank does not hold a security interest in any property of

               the Debtor or the Debtor’s bankruptcy estate, including the Insurance Proceeds, or

               a claim against the Debtor by virtue of the Loan;

           d) Declaring that Cratos does not hold a security interest in any property of the

               Debtor or the Debtor’s bankruptcy estate, including the Insurance Proceeds, or a

               claim against the Debtor by virtue of the Loan;

           e) Enter judgment finding Mr. Loiwal liable for the damages caused to the Debtor

               and the Debtor’s creditors resulting from the breaches of his fiduciary duties to

               the Debtor and the Debtor’s creditors;

           f) Enter judgment finding Ms. Holland and HJP, jointly and severally, liable for the

               damages caused to the Debtor and the Debtor’s creditors resulting from their

               breaches of their fiduciary duties to the Debtor and the Debtor’s creditors;

           g) Enter judgment finding Ms. Holland and HJP, jointly and severally, liable for the

               damages caused to the Debtor and the Debtor’s creditors resulting from their

               negligence and malpractice;




                                                31
Case 14-05282-mgd     Doc 1     Filed 09/08/14 Entered 09/08/14 16:35:49          Desc Main
                               Document      Page 32 of 32



        h) Enter judgment finding Ms. Holland, HJP, and Jupiter, jointly and severally, liable

            for the damages caused to the Debtor and the Debtor’s creditors resulting from

            their conspiring with Mr. Loiwal to breach his fiduciary duties to the Debtor and

            the Debtor’s creditors;

        i) Avoiding the Jupiter Fraudulent Transfer to Jupiter pursuant to 11 U.S.C. § 544

            and O.C.G.A. § 18-2-74;

        j) Avoiding the Jupiter Fraudulent Transfer to Jupiter pursuant to 11 U.S.C. § 544

            and O.C.G.A. § 18-2-75;

        k) Allowing recovery of the Jupiter Fraudulent Transfer or its value pursuant to 11

            U.S.C. § 550, including through judgments holding Jupiter, Deutsche Bank,

            and/or Cratos liable for such transfers or their value; and

        l) Granting any further relief that this Court deems just and proper.



    Dated: September 8, 2014      Respectfully submitted,

                                  ARNALL GOLDEN GREGORY LLP

                                  /s/ Sean C. Kulka
                                  Sean C. Kulka, Ga. Bar No. 648919
                                  Jonathan H. Azoff, Ga. Bar No. 754305
                                  171 17th Street, N.W., Suite 2100
                                  Atlanta, GA 30363
                                  Phone: (404) 873-8500
                                  sean.kulka@agg.com
                                  jonathan.azoff@agg.com

                                  Attorneys for Chapter 7 Trustee
                                  S. Gregory Hays




                                             32
